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 8                                   UNITED STATES DISTRICT COURT

 9                                         DISTRICT OF NEVADA

10   BRUCE BIRCH,
                                                                 Case No. 3:19-cv-00043-MMD-CLB
11                          Plaintiff,
                                                                  DEFENDANT’S MOTION FOR
12   vs.                                                         EXTENSION OF TIME TO FILE
                                                                    DISPOSITIVE MOTIONS
13   PAM DEL PORTO,
14                          Defendants.
15            Defendant, Pamela Del Porto, by and through counsel, Aaron D. Ford, Attorney General of the

16   State of Nevada, and Douglas R. Rands, Senior Deputy Attorney General, hereby move this Court for an

17   extension of time to file dispositive motions. This Motion is made and based upon Federal Rules of Civil

18   Procedure 6(b)(1)(A), the attached Points and Authorities, the papers and pleadings on file herein, and

19   such other and further information as this Court may deem appropriate.

20                          MEMORANDUM OF POINTS AND AUTHORITIES

21   I.       ARGUMENT

22            Defendant respectfully requests an extension of time out from the current deadline (July 8,

23   2020) to file dispositive motions in this matter.       Defendant is in the process of preparing a

24   Motion for Summary Judgment in this matter. This motion requires multipl e declarations to

25   various employees of the Nevada Department of Corrections. In addition, Counsel is working

26   from home, and email is critical to provide the draft motion and exhibits to staff for format and

27   filing. On July 8, 2020, there has been an outage of the email server serving the Office of the

28   Attorney General. Many of the emails sent to the NDOC and back and forth between counsel


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 1   and his office have bounced back and not gone through. This appears to be an issue with the

 2   Outlook server used by this office. As a result, the Motion for Summary Judgment is not ready

 3   to file. Therefore, it is requested that this Court grant the parties additional time, until July 15, 2020

 4   to file dispositive motions.

 5          Federal Rule of Civil Procedure 6(b)(1) governs extensions of time and provides as follows:

 6                  When an act may or must be done within a specified time, the court may,
                    for good cause, extend the time: (A) with or without motion or notice if
 7                  the court acts, or if a request is made, before the original time or its
                    extension expires; or (B) on motion made after the time has expired if the
 8                  party failed to act because of excusable neglect.

 9   Defendant’s request is timely and will not hinder or prejudice Plaintiff’s case, but will allow for a

10   thorough opportunity to brief and file a dispositive motion. The requested extension of time should

11   permit the Defendant time to adequately research, draft, and submit a well briefed dispositive motion in

12   this case. Defendant asserts that the requisite good cause is present to warrant the requested extension

13   of time.

14          In addition, in light of the current state of emergency, the Office of the Attorney General has

15   transitioned to alternate, home based working arrangements. The issue with email is, therefore, more

16   critical. The additional time will allow this office to complete the motion and file it appropriately.

17   Therefore, the Defendants request additional time, up until Wednesday, July 15, 2020, to file a

18   dispositive motion.

19          DATED this 8th day of July, 2020.

20                                                AARON D. FORD
                                                  Attorney General
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22                                                By:          /s/ Douglas R. Rands
                                                            DOUGLAS R. RANDS, Bar No. 3572
23                                                          Senior Deputy Attorney General
24                                                          Attorneys for Defendants
25
                                                            IT IS SO ORDERED
26

27
                                                            U.S. MAGISTRATE JUDGE
28
                                                                    July 9, 2020
                                                            DATED_______________________

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 1                                     CERTIFICATE OF SERVICE

 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada and that

 3   on this 8th day of July, 2020, I caused a copy of the foregoing, DEFENDANT’S MOTION FOR

 4   EXTENSION OF TIME TO FILE DISPOSITIVE MOTIONS, to be served, by U.S. District Court

 5   CM/ECF Electronic Filing on the following:

 6   Bruce Birch #61203
     Care of ESP Law Librarian
 7   Ely State Prison
     P.O. Box 1989
 8   Ely, NV 89301
     esplawlibrary@doc.nv.gov
 9
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11
                                                          ___/s/ Laure Penny_____________
12                                                        An employee of the
                                                          Office of the Attorney General
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